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UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA

 

ELEANOR M. TORTOSO,
Plaintiff,
Civil Action No. '

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COMMERCIAL RECOVERY SYSTEMS, )
INC.; and
DOE 1-5 )
Defendants.
)
)

COMPLAINT
(Jury Trial Demanded)
l. Plaintiff alleges violation of the Fair Debt Collection Practices Act, 15 U.S.C.

1692 et seq. (“FDCPA”) and the Florida Consumer Collection Practices Act, F.S.A. §§ 559.55-

559.785 (“FCCPA”).

JRISDICTION AND VENUE
2. This Court exercises jurisdiction under 15 U.S.C. 1692k, 28 U.S.C. §§ 1331,
1337, and 1367. This District is of proper venue as Plaintiff is a resident within this District and

Defendants engaged in the actions alleged herein against Plaintiff while Plaintiff so resided.
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PARTIE

3. Plaintiff, ELEANOR M. TORTOSO (hereinafter “Plaintiff” or “Mrs. Tortoso”), is
a natural person residing in Sarasota, Florida. Defendant COMMERCIAL RECOVERY
SYSTEMS, INC. is believed to be a Texas corporation with a principle place of business at 8035
East R.L. Thornton Freeway, Suite 205, in Dallas, Texas.

4, Plaintiff is ignorant of the true names and capacities of the defendants sued
herein as DOE 1-5, and therefore sues these defendants by such fictitious names. Plaintiff will
amend this Complaint to allege the true names and capacities once ascertained. Plaintiff believes
and thereon alleges that the fictitiously named defendants are responsible in some manner for the
occurrences herein alleged, and that such defendants are responsible to Plaintiff for damages
and/or monies owed.

5. COMMERCIAL RECOVERY SYSTEMS, INC. and DOE 1-5 shall hereafter be
jointly referred to as “Defendants.”

6. Defendants regularly operate as third-party debt collectors and are “debt

collectors” as defined by 15 U.S.C. 1692a.

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7. Defendants engaged in an attempt to collect a consumer credit card debt allegedly
owed by Mrs. Tortoso.
8. Mrs. Tortoso is 84 years old and resides with her son. A single landline phone is

in service at the household. Mrs. Tortoso’s son maintains an answering machine on the home

phone.
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9. On March 4, 2013, Defendants left a message on the household phone used by
Mrs. Tortoso’s son, the content of which is substantially as follows: “This message is for
Eleanor Tortoso. If you are not Eleanor please disconnect. If you are Eleanor Tortoso, please
continue listening... There will now be a pause... By continuing to listen, you acknowledge you
are Eleanor Tortoso. This message contains private information. Do not listen where others can
hear, there will now be another short pause... This is Chastity Bryant from Collection Recovery
Systems... This is an attempt to collect a debt and any information obtained will be used for that
purpose. Please call me at 1-800-214-5332 regarding account #3826338.”

10. On April 11, 2013, Defendants left a message on the household phone used by
Mrs. Tortoso’s son, the content of which is substantially as follows: “This message ts for
Eleanor Tortoso. If you are not Eleanor please disconnect. If you are Eleanor Tortoso, please
continue listening... There will now be a pause... By continuing to listen, you acknowledge you
are Eleanor Tortoso. This message contains private information. Do not listen where others can
hear, there will now be another short pause... This is Mikela Dickerson from Collection
Recovery Systems... This is an attempt to collect a debt and any information obtained will be
used for that purpose. Please call me at 1-800-214-5332 regarding account #3826338.”

11. On April 24, 2013, Defendants left a message on the household phone used by
Mrs. Tortoso’s son, the content of which is substantially as follows: “This message is for
Eleanor Tortoso. If you are not Eleanor please disconnect. If you are Eleanor Tortoso, please
continue listening... There will now be a pause... By continuing to listen, you acknowledge you
are Eleanor Tortoso. This message contains private information. Do not listen where others can

hear, there will now be another short pause... This is Demal Jackson from Collection Recovery
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Systems... This is an attempt to collect a debt and any information obtained will be used for that
purpose. Please call me at 1-800-214-5332 regarding account #3826338.”

12. | On May 22, 2013, Defendants left a message on the household phone used by
Mrs. Tortoso’s son, the content of which is substantially as follows: “This message is for
Eleanor Tortoso. If you are not Eleanor please disconnect. If you are Eleanor Tortoso, please
continue listening... There will now be a pause... By continuing to listen, you acknowledge you
are Eleanor Tortoso. This message contains private information. Do not listen where others can
hear, there will now be another short pause... This is Ron Thamus from Collection Recovery
Systems... This is an attempt to collect a debt and any information obtained will be used for that
purpose. Please call me at 1-800-214-5332 regarding account #3826338.”

13. Mrs. Tortoso’s son, acting reasonably in not wanting the delete messages that may
be of importance, medical related or otherwise, listened to the messages.

14. Defendants continued to leave dozens of messages. Increasingly harassed by
Defendants incessant calls and messages, Mrs. Tortoso obtained counsel with Centennial Law
Offices.

15. On June 27, 2013, staff from Centennial Law Offices contacted Defendants by
telephone, advised them that Mrs. Tortoso was represented by counsel, and provided counsel’s
contact information.

16. | Defendants continued to call and leave messages for Mrs. Tortoso through at least
August 7, 2013. Defendants made at least six such calls to Mrs. Tortoso after having actual
knowledge that she was represented by counsel.

17. Atno point in time did Mrs. Tortoso authorize Defendants to communicate with

her son regarding any debts she allegedly owed. At no point in time did Defendants contact Mrs.
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Tortoso’s counsel. Plaintiff nor her counsel consented to Defendants continuing to contact

Plaintiff after being informed that she was represented by counsel.

18. As a direct result of the collection activity herein alleged, Mrs. Tortoso incurred
legal fees of $2,355.00.
AUSE CTI
COUNTI

19. Plaintiff re-alleges paragraphs | through 18, inclusive, and by this reference
incorporate the same as though fully set forth herein. Plaintiff is informed and believes and
herein alleges that Defendants, and each of them, violated 15 U.S.C. 1692c(b) by
communicating, in connection with the collection of a debt, with a third-party without Plaintiff's
consent.

COUNT II

20. Plaintiff re-alleges paragraphs 1 through 18, inclusive, and by this reference
incorporate the same as though fully set forth herein. Plaintiff is informed and believes and
herein alleges that Defendants, and each of them, violated 15 U.S.C. 1692d by engaging in
conduct, including but not limited to excessive calls and communications after being informed
that Plaintiff was represented by counsel, the natural consequence of which was to harass,

oppress, or abuse Plaintiff in connection with the collection of a debt.

COUNT II
21. Plaintiff re-alleges paragraphs | through 18, inclusive, and by this reference

incorporate the same as though fully set forth herein. Plaintiff is informed and believes and
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herein alleges that Defendants, and each of them, violated 15 U.S.C. 1692c(a)(2) with regards to
Plaintiff by continuing to make collection calls to Plaintiff after having actual knowledge that

Plaintiff was represented by counsel and having the means to contact Plaintiffs counsel.

COUNT IV
22. Plaintiff re-alleges paragraphs 1 through 18, inclusive, and by this reference
incorporate the same as though fully set forth herein. Plaintiff is informed and believes and
herein alleges that Defendants violated F.S.A. § 559.72(7) by engaging in conduct, including but
not limited to excessive calls and communications after being informed that Plaintiff was
represented by counsel, which could reasonably have been expected to abuse or harass Plaintiff

in connection with the collection of a debt.

COUNT V
23. Plaintiff re-alleges paragraphs 1 through 18, inclusive, and by this reference
incorporate the same as though fully set forth herein, Plaintiff is informed and believes and
herein alleges that Defendants violated F.S.A. § 559.72(18) by continuing to make collection
calls to Plaintiff after having actual knowledge that Plaintiff was represented by counsel and

having the means to contact Plaintiff's counsel.

PRAYER FOR RELIEF
WHEREFORE, Plaintiff prays judgment against Defendants, and each of them, for damages as

follows:

1.) For statutory damages in the amount of $1,000 pursuant to 15 U.S.C. § 1692k(2);
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2.) For statutory damages in the amount of $7,000.00 pursuant to F.S.A. § 559.77(2):

3.) For actual damages of $2,355.00 in legal costs incurred in responding to unlawful
collection activity pursuant to 15 U.S.C. § 1692(k) and F.S.A. § 559.77(2);

4.) For prejudgment interest in an amount to be proved at time of trial;

5.) For attorney’s fees pursuant to 15 U.S.C. § 1692(k) and F.S.A. § 559.77(2);

6.) For the costs of this lawsuit pursuant to 15 U.S.C. § 1692(k) and F.S.A. § 559.77(2):

7.) Punitive damages, pursuant to F.S.A. § 559.77(2); and

8.) For any other and further relief that the court considers proper.

JURY DEMAND

Plaintiff demands a jury trial.

Date: February 19, 2014 NG mM Le

MEGAN LYONS, ESQ.

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